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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:     Plaintiff
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
Art Records, LLC

                                                              Plaintiff(s),
                                     v.

                                                                                             CERTIFICATION AND NOTICE
Youtube, LLC et al                                                                             OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                       Plaintiff
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                  PARTY                                                CONNECTION / INTEREST
Art Records, LLC                                                              Plaintiff
Youtube, LLC                                                                  Defendant
[con't, see Attachment 1]




         7/26/2022                                         /s/ Scott Alan Burroughs
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiff



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
